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   IT IS ORDERED as set forth below:



   Date: October 18, 2021
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                         :          CASE NO. 17-64941-SMS
                                               :
ROGER CARROLL BURGESS,                         :          CHAPTER 7
                                               :
         Debtor.                               :
                                               :

                  ORDER GRANTING TRUSTEE’S APPLICATION FOR
             FINAL COMPENSATION OF SPECIAL COUNSEL AND REQUEST
                   FOR AUTHORIZATION TO PAY COMPENSATION

         September 17, 2021, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Roger Carroll Burgess (“Debtor”), filed Trustee’s

Application for Final Compensation of Special Counsel and Request for Authorization to Pay

Compensation [Doc. No. 73] (the “Application”).




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         In the Application, Trustee seeks final approval of compensation and expense for Matthews

& Associates; Freese & Goss; and J. Shafer Law (collectively, “Special Counsel”) for fees in the

amount of $46,212.38 (the specific amount that each firm will receive is set forth in the Exhibit

“A” to the Settlement Motion) and expenses in the amount of $5,335.99 for services rendered in

the prosecution of the lawsuit.

         On September 20, 2021, Trustee filed Notice of Pleadings, Deadlines to Object, and for

Hearings [Doc. No. 74] (the “Notice”) regarding, among other things, the Application, in

accordance with General Order No. 24-2018 and setting a hearing on the Application on October

20, 2021 (the “Hearing”). Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on September 20, 2021. [Doc. No. 75].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Application was filed prior to the

objection deadline provided in the Notice. No creditor or party in interest appeared at the Hearing

to voice an objection to the relief requested in the Application.

         The Court having considered the Application and all other matters of record, including the

lack of objection to the relief requested in the Application, and, based on the forgoing, finding that

no further notice or hearing is necessary; and, the Court having applied the standards set forth in

Norman v. Housing Authority for the City of Montgomery, 836 F.2d 1292 (11th Cir. 1988) and 11

U.S.C. §§ 330 and 331 and having reviewed the Application and the supporting documents, and

based on the representations of the Trustee in the Application, it appearing to the Court that the

compensation for services rendered and reimbursement of expenses requested are reasonable; and

the Court having found that good cause exists to grant the relief requested in the Application, it is

hereby



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        ORDERED that the Application is GRANTED: Special Counsel is awarded the sum of

$46,212.38 as payment for attorney’s fees plus $5,335.99 as reimbursement for expenses incurred

in the representation of Trustee and the Bankruptcy Estate and Trustee is authorized to pay, or to

cause to be paid, these amounts.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

    Office of the United States Trustee                 Peter de law Cerda
    362 United States Courthouse                        Freese & Goss
    75 Ted Turner Drive, S.W.                           3031 Allen Street, Suite 200
    Atlanta, GA 30303                                   Dallas, TX 75204

    S. Gregory Hays                                     Jeremy Shafer
    Hays Financial Consulting, LLC                      J.Shafer Law
    2964 Peachtree Rd, NW, Suite 555                    1010 Turquoise Street, Suite 201
    Atlanta, GA 30305                                   San Diego, CA 92109

    Roger Carroll Burgess                               Michael J. Bargar
    2612 Leland Drive                                   Arnall Golden Gregory LLP
    Augusta, GA 30909                                   171 17th Street, NW, Suite 2100
                                                        Atlanta, GA 30363
    Wendy C. Elsey
    Matthews & Associates
    2905 Sackett Street
    Houston, TX 77098




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